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                                       July 12, 2024
Hon. Glenn T. Suddaby                                          via ECF
United States District Court
Northern District of New York
Federal Building and U.S. Courthouse
P.O. Box 7367
Syracuse, NY 13261-7367

       Re: Antonyuk, et al. v. Hochul, et al., No. 1:22-CV-986 (N.D.N.Y) (GTS/CFH)
Dear Judge Suddaby:
      Pursuant to this Court’s Text Order on February 27, 2024 (ECF No. 114)
continuing the stay in this matter, the Parties hereby provide this Joint Status Report.
       On July 2, 2024, the Supreme Court granted Plaintiffs’ petition, vacated the
Second Circuit’s opinion, and remanded the matter for “further consideration in light
of United States v. Rahimi, 602 U. S. ___ (2024).” Antonyuk v. James, No. 23-910, 2024
U.S. LEXIS 2929 (July 2, 2024). However, at this time, the Second Circuit has not yet
issued an Order directing further proceedings in that Court.
      The Parties recommend that they advise this Court within fourteen (14) days
from today on what, if anything, the Second Circuit orders post-GVR, and provide this
Court with the Parties’ position(s) on how they would like litigation to proceed here.
       If the Court requires any additional information, we are happy to provide it.




                                          Stephen D. Stamboulieh

cc:    By ECF to all counsel of record.
